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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS

 ERIC FOREMAN,                                )
                                              )
                      Plaintiff,              )
                                              )
 vs.                                          )   Case No. 3:20-CV-00786-MAB
                                              )
 SNOW TEETH WHITENING, LLC,                   )
                                              )
                      Defendant.              )


                         JUDGMENT IN A CIVIL CASE

DECISION BY COURT.

       IT IS ORDERED AND ADJUDGED that pursuant to the Notice of Voluntary

Dismissal filed on June 2, 2021 (Doc. 20) and the Order entered on June 4, 2021 (Doc. 21),

this action is voluntarily DISMISSED with prejudice pursuant to Federal Rule of Civil

Procedure 41(a)(1)(A)(i), each party to bear its own costs and fees.



       DATED: June 4, 2021

                                          MARGARET M. ROBERTIE,
                                          Clerk of Court

                                          BY: /s/ Jennifer Jones
                                             Deputy Clerk


APPROVED: /s/ Mark A. Beatty
          MARK A. BEATTY
          United States Magistrate Judge




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